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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


    WOLFRAM ARNOLD, ERIK
    FROESE, TRACY HAWKINS,
    JOSEPH KILLIAN, LAURA CHAN
    PYTLARZ, and ANDREW
    SCHLAIKJER,

                            Plaintiffs,        C.A. No. 1:23-cv-528-JLH-CJB

               v.

    X CORP. f/k/a TWITTER, INC., X
    HOLDINGS CORP. f/k/a X
    HOLDINGS I, INC. and ELON MUSK,

                            Defendants.

                 DEFENDANT ELON MUSK’S RENEWED
               MOTION TO DISMISS COUNTS I-XIV UNDER
              FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

        Defendant Elon Musk, by and through his undersigned counsel, renews his

motion to dismiss all counts asserted against him (Counts I-XIV) under Federal Rule

of Civil Procedure 12(b)(6) for failure to state a claim [D.I. 17].1

        The grounds for the Motion are set forth in Defendant Musk’s opening brief




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  The Motion, as originally filed, also sought dismissal for lack of personal
jurisdiction under Federal Rule of Civil Procedure 12(b)(2). Defendant Musk
partially withdrew his motion only to the extent it sought dismissal under Federal
Rule of Civil Procedure 12(b)(2). [D.I. 54]. The withdrawal did not impact the
remaining portions of the Motion seeking dismissal under Federal Rule of Civil
Procedure 12(b)(6).

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accompanying the Motion [D.I. 18] and his subsequent reply brief [D.I. 37].



 Dated: February 29, 2024                MORGAN, LEWIS & BOCKIUS LLP

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